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HARRISBURG PA

JAN 23 2919
UNITED STATES DISTRICT COURT PeR__(/P
MIDDLE DISTRICT OF PENNSYLVANIA — DEPUTY GlERK-—~
UNITED STATES OF AMERICA NO. |)}Q-CK- 35

v. ) (JUDGE typo )
)
RONSHEEK J. BASKERVILLE )

INDICTMENT

COUNT 1

_ (Felon in Possession of a Firearm and Ammunition)
18 U.S.C. §922(g)(1)

THE GRAND JURY CHARGES:
On or about January 27, 2018, in the Middle District of
Pennsylvania, the defendant,
RONSHEEK J. BASKERVILLE

having previously been convicted of a crime punishable by a term of
imprisonment exceeding one year, did knowingly possess a firearm and
ammunition, that is, a Harrington and Richardson .38 revolver, Model
Victor, serial number 9894 loaded with four (4) .38 caliber cartridges,
-and an additional 25 rounds of .38 caliber ammunition that were

manufactured outside of the Commonwealth of Pennsylvania, and
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therefore had been shipped and transported in interstate and foreign
commerce.
In violation of Title 18, United States Code, Sections 922(g)(1) and

924(e)(1).

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OREPERSON, SURY

DAVID J. FREED
UNITED STATES ATTORNEY

BY: Phe lt Ahn [ZE-L9
- MEREDITH A. CAYIOR: DATE 7”
ASSISTANT U.S. ATTORNEY
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